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IN THE UNITED STATES COURT OF APPEALS FILED

FOR THE FIFTH CIRCUIT
JUL 17 2018
LER
No. 18-50428 ee BiatR s
BY. DEPUTY

JARROD STRINGER; BENJAMIN HERNANDEZ; JOHN WOODS,
Plaintiffs - Appellees
v.

ROLANDO PABLOS, In His Official Capacity as the Texas Secretary of
State; STEVEN C. MCCRAW, in His Official Capacity as the Director of the
Texas Department of Public Safety,

Defendants - Appellants

Appeal from the United States District Court

for the Western District of Texas
5 -Ile-tv- £S51-0L0 V

ORDER:

IT IS ORDERED that Appellants’ unopposed to motion to view and
obtain sealed documents is GRANTED.
/s/ Edith Brown Clement

EDITH BROWN CLEMENT
UNITED STATES CIRCUIT JUDGE

A True Copy
Certified order issued Jul 17, 2018

Duk W. Cone
Clerk, uf Court of Appeals, Fifth Circuit
